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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  4:09CR3031
                                              )
              V.                              )
                                              )
MICHAEL KONING,                               )                    ORDER
                                              )
                     Defendants.              )
                                              )


       The government has moved to extend the time to file its brief in response to defendant
Michael Koning’s Motion to Sever. Counsel for defendant Michael Koning has no objection
to this motion.


       IT IS ORDERED that:
       1.     The government’s unopposed Motion to Extend Time to File Brief (Filing No.
              66) is granted.

       2.     The government’s brief in response to defendant’s Motion to Sever will be due
              on or before June 4, 2010.

       DATED this 27th day of May, 2010.

                                             BY THE COURT:

                                             S/ Cheryl R. Zwart
                                             United States Magistrate Judge
